           Case 2:21-cv-00975-JCM-NJK Document 16
                                               15 Filed 11/30/21
                                                        11/19/21 Page 1 of 2




 1   David Krieger, Esq.
     Nevada Bar No. 9086
 2   Shawn Miller, Esq.
     Nevada Bar No. 7825
 3
     KRIEGER LAW GROUP, LLC
 4
     2850 W. Horizon Ridge Parkway
     Suite 200
 5   Henderson, Nevada 89052
     Phone: (702) 848-3855
 6   Email: dkrieger@kriegerlawgroup.com
     Email: smiller@kriegerlawgroup.com
 7
                           IN THE UNITED STATES DISCTRICT COURT
 8                              FOR THE DISTRICT OF NEVADA
 9                                                 )   Case No. 2:21-CV-00975-JCM-NJK
     ROOSEVELT NEROES,                             )
10                                                 )
                           Plaintiff,              )
11
                                                   )
     v.                                                STIPULATION AND ORDER
                                                   )
12                                                     DISMISSING ACTION WITH
                                                   )   PREJUDICE
     EQUFIAX INFORMTION SERVICES,             LLC, )
13                                                 )
                           Defendant.
                                                   )
14
                                                 STIPULATION
15
            Plaintiff Roosevelt Neroes and Defendant Equifax Information Services, LLC hereby
16
     stipulate and agree that the above-entitled action shall be dismissed with prejudice in accordance
17
     …
18
     …
19
     …
20
     …
21
     …
22
     …
23   …
24   …
25   …

26
                                                Page 1 of 2
27

28
            Case 2:21-cv-00975-JCM-NJK Document 16
                                                15 Filed 11/30/21
                                                         11/19/21 Page 2 of 2




 1   with Fed. R. Civ. P. 41 (a)(2). Each party shall bear its own attorney's fees, prejudgment interest,

 2   and costs of suit.

 3           Dated: November 19, 2021

 4

 5
      By:     /s/ David Krieger, Esq.                   By:     /s/ Jeremy J. Thompson, Esq.
 6            David Krieger, Esq.                               Jeremy J. Thompson, Esq.
              KRIEGER LAW GROUP, LLC                            CLARK HILL PLLC
 7            2850 W. Horizon Ridge Parkway                     3800 Howard Hughes
              Suite 200                                         Parkway Suite 500
 8
              Henderson, Nevada 89052                           Las Vegas, Nevada 89169
 9
              Attorney for Plaintiff                            Attorney for Defendant

10

11                                                ORDER

12                                                         IT IS SO ORDERED

13
                                                           ____________________________
14                                                         UNITED STATES DISTRICT JUDGE
15
                                                                    November 30, 2021
                                                           DATED: ____________________
16

17

18

19

20

21

22

23

24

25

26
                                                 Page 2 of 2
27

28
